Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 1 of 39 PageID: 827




            IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          )
     v.                   )                Cr. No. 19-246 (MCA)
                          )
Creaghan Harry,           )
                          )
         Defendant.       )


          THE GOVERNMENT’S OPPOSITION TO
  DEFENDANT’S MOTION TO REVOKE THE U.S. MAGISTRATE
              JUDGE’S DETENTION ORDER

     The United States of America, by its Attorneys, Rachael A.

Honig, Attorney for the United States, by Jacob Foster, Assistant

Chief, and Darren C. Halverson, Trial Attorney, respectfully

requests that the Court deny defendant’s motion to revoke United

States Magistrate Judge Joseph A. Dickson’s January 31, 2020

order that denied, without prejudice, defendant Creaghan Harry’s

amended bail application, after defendant’s previously proposed bail

package had “essentially fallen apart,” and also denied the

government’s motion for reconsideration of the release order as

moot. Docket entry no. 97. Defendant’s motion misstates the

relevant facts and law, and provides no basis for revisiting
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 2 of 39 PageID: 828




Magistrate Judge Dickson’s carefully-considered decisions

regarding bond.

     Indeed, to the extent that Judge Dickson’s order is modified,

defendant should simply be detained, as the government argued in

its motion for reconsideration. Defendant is an unrepentant

conman who perpetrated one of the largest health care fraud

offenses in United States history, for which he faces a Sentencing

Guidelines range that amounts to life imprisonment. The

government’s proffer established a two-decade long history of deceit

and scheming that involved extensive foreign ties, foreign

businesses, foreign residences, and foreign assets, including a

nearly $1 million yacht that was moved from the jurisdiction of the

United States to Mexico after the time of defendant’s arrest.

Defendant lied about these foreign ties in this interview with Pre-

Trial Services, and, through his previously retained attorneys, also

made false statements to the Court in detention proceedings. He

previously assisted others in fleeing the country and told multiple

cooperating witnesses that he would flee to foreign jurisdictions. He

cannot be trusted to abide by any conditions of release.

                                     2
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 3 of 39 PageID: 829




     That defendant’s previously proposed bail package has fallen

apart does not entitle him to a lighter package. While the initial bail

package involved an amount of $2.5 million, secured by an

appearance bond, co-signed by two financially responsible

individuals, and secured by three properties, the defendant now

seeks to be released on bail of $1 million, secured by a single co-

signer, and placed under the supervision of either the mother of one

of his children or a friend.

     This Court should reject defendant’s proposal as insufficient to

mitigate the defendant’s risk of flight created by the nature of the

charges, weight of the evidence, the defendant’s background, and

his history of duplicity, along with the economic danger that the

defendant poses to the community.




                                     3
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 4 of 39 PageID: 830




                              Background

     Defendant Creaghan Harry was born in Canada and retains

his Canadian citizenship. He has lived and operated businesses in

Panama and the Dominican Republic. The present indictment

involves call centers controlled by Harry and operated in the

country of Colombia.

     A.    The Indictment

     The defendant was indicted by the grand jury on April 5, 2019,

(along with coconspirators Lester Stockett and Elliott Loewenstern)

with one count of conspiracy to defraud the United States and to

pay and receive health care kickbacks, four counts of receiving

health care kickbacks, and one count of conspiracy to commit

money laundering. Docket entry No. 1. Stockett and Loewenstern

subsequently pleaded guilty.

     The indictment alleges that Harry is the mastermind of an

international health care fraud scheme that resulted in the

submission of over $424 million in fraudulent claims to Medicare.

Harry, through his control of two purported telemedicine

companies, paid doctors to write unnecessary orthotic brace orders

                                     4
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 5 of 39 PageID: 831




for Medicare beneficiaries and solicited illegal bribes for those

orders from brace suppliers (or international telemarketers acting

on behalf of the brace suppliers. Id. at ¶¶ 1(g) & 9(a)-(e).

     The Indictment alleges that Harry engaged in extensive efforts

to conceal and disguise the scheme, including by lying to his own

lawyers, including lawyers at the law firm of Brown and Fortunato,

P.C., in order to obtain legal opinion letters that Harry used as

lulling letters to attempt to defraud investors and induce others to

participate in the scheme. Id. at ¶ 9(h). Harry falsely represented

to lawyers, investors, and others that he operated bona fide

telemedicine companies that made money from subscription fees

paid by patients seeking telemedicine services, while concealing

that the vast majority of the payments for the consultations were

actually kickbacks paid by brace suppliers. Id. at ¶ 9(h).

     The Indictment alleges that, as part of a conspiracy to commit

money laundering, Harry also attempted to conceal and disguise

the payment and receipt of the illegal kickbacks and bribes by

having brace suppliers pay nominee companies, placed in the

names of nominee third parties, and engaging in byzantine financial

                                     5
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 6 of 39 PageID: 832




transactions both in the United States and abroad. Id. at ¶ 9(i).

The purpose of these financial transactions was to attempt to make

it appear that the telemedicine companies were not receiving money

from brace suppliers or marketers, when in reality they were

receiving such kickbacks (just indirectly, instead of directly).

     B.    Harry’s False Statements to Pre-Trial Services

     Upon his arrest, Harry was briefly interviewed by Pre-Trial

Services in the Southern District of Florida. In the interview, Harry

made the following statements that are material to the Court’s bond

determination:

     •     Harry disclosed four or five foreign trips in the last ten

years. In fact, Harry’s taken at least 57 international trips in the

past ten years.

     •     Harry stated that his international travel included

“maybe Panama.” In fact, Harry took at least 25 international trips

to Panama in the past ten years.

     •     Harry stated that he had lived in “Canada for six months,

[and has] been in the United States since.” In fact, Harry previously

lived in the Dominican Republic and Panama.

                                     6
    Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 7 of 39 PageID: 833




         C.    The Detention Hearings

               1.   Southern District of Florida

         Upon his initial appearance on April 9, 2019, Harry,

represented by counsel, knowingly and voluntarily waived his right

to a detention hearing in the arresting district and was ordered

transferred to the District of New Jersey. Docket Entry No. 13. 1

         2.    The May 30, 2019 Hearing Before Judge Dickson

         Upon his initial appearance in the District of New Jersey,

Harry, now represented by a third set of attorneys, sought review of

his bail conditions. See Docket Entry No. 14. At the hearing, the

government proffered witness statements, financial records, email

communications, and submitted other documents to the Court.

U.S. v. Harry, Transcript of Bail Hearing dated May 30, 2019 (May

30 Tr.), Ex. A.



1
 Harry subsequently retained a second set of attorneys, who sought
a detention hearing in the Southern District of Florida. Although
the government indicated it would appear at a hearing to oppose
the motion, the court found that it had been divested of jurisdiction
by Harry’s prior election of a detention hearing in the District of
New Jersey. United States v. Harry, 9:19-mj-08129-BER (S.D.F.L.
2019) (Docket entry no. 3.)
                                         7
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 8 of 39 PageID: 834




     In regard to the history and characteristics of the defendant,

the government proffered evidence that Harry was engaged in

complex computer-based fraud schemes for nearly two decades. Id.

at 13-15. For example in January 2005, the defendant entered into

a consent judgment with the Federal Trade Commission (FTC) after

the filing of an administrative complaint alleging that defendant was

engaged in the deceptive online marketing and sales of human

growth hormone. See Ex. B. Specifically, the FTC alleged that

defendant took great strides to conceal his identity when marketing

his products, including by conducting transactions were under the

name of a fictitious individual, locating businesses in Canada,

Sweden and Switzerland, registering websites in China, and

transferring the proceeds from the sale of the products to bank

accounts in Latvia. See id at ¶¶ 11-21.

     The government also proffered statements from multiple

witnesses that in response to the FTC action, Harry continued

various international fraud schemes, but sought to disguise his

involvement by placing companies in the name of nominee owners.

Ex. A (May 30 Tr. at 15-16). For example, in regard to the indicted

                                     8
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 9 of 39 PageID: 835




offense, the government introduced financial records that Harry

sought to conceal and disguise the scheme by having kickbacks

paid through shell companies such as Latin American Call Centers

and PCS CC, LLC. Exs. C and D. The government also submitted

email communications between Harry and subordinates regarding

payments made to the nominee owners of these companies. Ex. E.

     In regard to the weight of the evidence, the government

submitted email and other communications authored by the

defendant in which he represented to lawyers, doctors and investors

that he was running profitable and legitimate telemedicine

companies that did not receive any money, directly or indirectly,

from brace suppliers or marketers. Exs. F-J. The government

proffered multiple witness statements, undercover recordings, and

financial records that defendant knew these representations were

false because nearly all of the funds received by the telemedicine

companies were bribes from brace suppliers and marketers. Ex. A

(May 30 Tr. at 8:5-14.)

     In regard to the risk of flight, the government submitted email

communications where defendant discussed bank accounts that he

                                     9
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 10 of 39 PageID: 836




possessed in Cyprus. Ex. L. The government also proffered

financial records regarding bank accounts established by the

defendant in the Dominican Republic, statements by a cooperating

witness that Defendant stated that he sought to establish a bank

account in Belize as a “rainy day fund”, and indicated that its

investigation had not been able to account for all of the millions of

dollars in funds involved in the massive scheme.

     In response to allegations that defendant lied to and

manipulated the attorneys at the law firm Brown & Fortunato into

producing an opinion letter he then used to conceal his crimes, the

defendant, through counsel, lied to the Court about ever having had

communications with the anyone at the firm. When Magistrate

Judge Dickson asked if the defendant had communicated with

Brown & Fortunato, his counsel took time to confer with defendant,

speaking with him off the record, before (falsely) representing to the

Court that Harry “never had any conversations with [Brown &

Fortunato]” and that “Stockett was somebody who dealt with Brown

and Fortunato, not my client.” May 30 Tr. at 35:3-17.




                                     10
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 11 of 39 PageID: 837




     At the conclusion of the hearing, Magistrate Judge Dickson

noted that the defendant’s “package that [he] proposed” was “a little

light.” Id. at 50:1-2. The defendant stated that he would attempt to

increase the offer of bond for the defendant. Id. at 51:13 - 51:9.

The Court granted the government’s motion for detention of the

defendant without prejudice, and reserved on the defendant’s

motion for pretrial release while awaiting the modified bond

proposal. Id. at 53:2-5.

     3.    The August 5, 2019 Hearing Before Judge Dickson

     During another detention hearing held on August 5, 2019, the

defendant’s counsel noted that new counsel had been retained by

the defendant, and he became aware of it only days earlier. U.S. v.

Harry, Transcript of Bail Hearing dated August 5, 2019 (August 5

Tr.), Ex. M, at 4:18-21. The defendant proposed a new bail package

of $2.5 million secured by three residential properties with

approximately $1.4 million in equity. Id. at 5:18-22. The

government objected to this bail package as insufficient to

reasonably assure the defendants appearance in court of the safety

of the community. Id. at 14:1-7. The government further objected

                                     11
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 12 of 39 PageID: 838




to the collateral in the package because the relationships of the

owners to the defendant meant that they lacked “moral suasion”

over the defendant. Docket entry no. 32. The Court noted that it

would reserve decision.

     Magistrate Judge Dickson issued an opinion setting conditions

for Harry’s release dated November 15, 2019. Docket entry no. 85.

In setting conditions, the Court found “a high risk of flight” that

“weigh[s] against release.” The Court further found that the

defendant’s release posed a danger to the community due to the

nature of his alleged crimes, but that the danger could be mitigated

by home confinement and removal of internet access.

     Following entry of the release order, both the government and

the defendant moved for reconsideration of the order. In addition,

two of Harry’s sureties withdrew from his bail package, and one of

the sureties also withdrew a substantial portion of the collateral

from the package which was the home of Harry’s former partner

and mother of his three children. A second property securing the

bond in an estimated amount of $924,000 was also found to be no

longer suitable for inclusion in the bail package. Magistrate Judge

                                     12
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 13 of 39 PageID: 839




Dickson entered a second order on January 31, 2020, vacating the

initial release order and finding that “Harry’s release would involve

a high risk of flight and some potential danger to the community”

and also that the removal of sureties and collateral from the bail

package meant that the package would be “insufficient to

reasonably guarantee [Harry’s] appearance at trial.” Docket entry

no. 97 at 4. The Court further noted that “Harry owns a yacht,

worth approximately $1,000,000, which a friend has taken to

Mexico, where it is generating revenue for Mr. Harry as a charter

vessel,” which is “a significant source of funds abroad” and a

“physical means of absconding.” Id. at 4. Magistrate Judge

Dickson concluded that “there is no longer any set of conditions of

release—which Harry can satisfy—that will reasonably guarantee

his appearance at trial.” Id. at 5.

                               Discussion

     The Government respectfully submits that there are no

appropriate bail conditions because defendant presents a

significant flight risk and danger to the community.




                                      13
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 14 of 39 PageID: 840




     I.    Applicable Law

     Magistrate Judge Dickson’s order setting the conditions of

release is subject to de novo review by this Court. See United States

v. Delker, 757 F.2d 1390, 1395 (3d Cir. 1985).

     The question of bail is governed by the factors set forth in the

Bail Reform Act. Those factors include: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence

against the person; (3) the history and characteristics of the person,

including, among other things, the defendant’s ties to the

community, past conduct, and financial resources; and (4) whether

the defendant poses a danger to the community if released. 18

U.S.C. § 3142(g)(1)-(4). If, after weighing these factors, the Court

concludes that “no condition or combination of conditions will

reasonably assure the appearance of the person as required . . . . ”

then bail should be denied. 18 U.S.C. § 3142(e).

     “It is well settled that at a detention hearing the government

may proceed by proffer [and] that hearsay testimony may be

used . . . . ” United States v. Muse, No. 14-2007 JS, 2014 WL

495121, at *1 (D.N.J. Feb. 6, 2014). Courts regularly accept

                                     14
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 15 of 39 PageID: 841




government proffers of evidence and electronic communications to

demonstrate the weight of evidence against a defendant for

purposes of detention. See, e.g., United States v. Boustani, 356 F.

Supp. 3d 246, 253 (E.D.N.Y. 2019), aff'd, No. 19-344, 2019 WL

2070656 (2d Cir. Mar. 7, 2019).

     While pretrial detention implicates a liberty interest and thus

may not be imposed contrary to the mandates of procedural due

process, such due process “is flexible and calls for such procedural

protection as the particular situation demands.” Morrissey v.

Brewer, 408 U.S. 471, 482 (1972).

     II.    Bail Should be Denied

     A     Nature and Circumstances of the Offense

     Defendant’s brief attempts to minimize the nature and

circumstances of the charged offense, arguing that Magistrate

Judge Dickson made “conclusory findings” that Harry “faces a ‘de

facto life sentence.’” Deft. Mot. at 7-8 (quoting docket entry no. 97

at 6). But there is no realistic dispute that Harry faces a Guidelines

Sentencing range that, at his age, amounts to life imprisonment

and a statutory maximum of 50 years. The defense refers to the

                                     15
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 16 of 39 PageID: 842




length of this sentence as “unremarkable circumstances,” Mot. at 8,

but the potential penalty alone distinguishes this case from the

run-of-the-mill health care fraud cases cited by the defense where

bail was granted.

     Defendant is incorrect in asserting that the “magistrate judge’s

overwhelming reliance on charges and penalties was thus in error,”

Mot. at 8, because numerous courts have recognized that the

seriousness of the charges and the severity of the penalties gives

the defendant an incentive to flee. United States v. Cisneros, 328

F.3d 610, 618 (10th Cir. 2003) (defendant was a flight risk because

her knowledge of the seriousness of the charges against her gave

her a strong incentive to abscond); United States v. Townsend, 897

F.2d 989, 995 (9th Cir. 1990) (“Facing the much graver penalties

possible under the present indictment, the defendants have an even

greater incentive to consider flight.”). Even in the absence of means

and foreign ties—which, as discussed in detail below, the defendant

has in abundance—the fact of a de facto life sentence alone would

provide a compelling incentive for anyone to fail to appear.




                                     16
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 17 of 39 PageID: 843




     Defendant attempts to diminish the seriousness of the charged

offenses by asserting that “[t]his matter does not involve any danger

to any human being; in fact, it does not even involve danger to

anyone’s property,” Deft. Mot. at 8, but the offense in fact involves

theft of money entrusted for the elderly and disabled. Indeed,

health care fraud alone is a serious crime that Congress has long

condemned as contrary to the public interest and a threat to the

viability of Medicare.2 And this Circuit has noted the pernicious

impact that illegal kickbacks have on the health care system.

United States v. Goldman, 607 F. App’x 171, 174 (3d Cir. 2015)

(rejecting argument that the Anti-Kickback Statute was “technical,”



2
 H.R. 95-393, pt. II, at 44 (1977) (“In whatever form it is found, . . .
fraud in these health care financing programs adversely affects all
Americans. It cheats taxpayers who must ultimately bear the
financial burden of misuse of funds in any government-sponsored
program. It diverts from those most in need, the nation’s elderly
and poor, scarce program dollars that were intended to provide
vitally needed quality health services.”; H.R. Rep. 104-747 (1996)
(“Everyone pays the price for health care fraud: beneficiaries of
Government health care insurance such as Medicare and Medicaid
pay more for medical services and equipment; consumers of private
health insurance pay higher premiums; and taxpayers pay more to
cover health care expenditures.”).
                                     17
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 18 of 39 PageID: 844




noting that “[d]octors are supposed to make decisions based on

medical necessity, not their own fiscal interests.”).

     Notwithstanding the defendant’s dismissive remarks, the

consequences of conspiring to defraud the United States are real

and serious. Recognizing the importance of such harm, when a

defendant has been charged with health care fraud offenses, courts

have ordered detention. See United States v. Fata, 2013 U.S. Dist.

LEXIS 149168, *5-6 (E.D. Mich. 2013); United States v. Akamnonu,

2012 U.S. Dist. LEXIS 59084, *5-6 (N.D. Tex. 2012 April 27, 2012)

(nature and circumstances of health care fraud charges supported

detention); United States v. Fallah, 2007 U.S. Dist. LEXIS 75320,

*2-3 (S.D. Tex. Oct. 10, 2007) (same).

     Defendant also argues that pretrial detention for an Anti-

Kickback offense is “perhaps unprecedented” in the District of New

Jersey and compares this case to a series of other health care fraud

and kickback cases charged in this district over the last several

years. Deft. Mot. at 8. But this is a strawman argument because

Magistrate Judge Dickson did not order pretrial detention, as the

government urged; instead, he found that it was unnecessary to

                                     18
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 19 of 39 PageID: 845




consider the government’s motion for reconsideration of his order

setting conditions of release because Harry was no longer able to

satisfy the originally proposed bail package of conditions.

     Further, review of the cases cited by defendant demonstrates

that these more standard cases are factually inapposite because

they don’t involve involving an international conspiracy with a $424

million loss. They also are legally distinguishable because the

government did not seek detention for the defendants.

     Defendant discusses at length the recent bail order by

Magistrate Judge Dickson in United States v. Williamsky, but this

order actually supports denial of Harry’s motion for release here. In

Williamsky, involving a defendant who played a smaller role in a

similar kickback scheme with a loss of approximately $150

million—the Court entered a release order for a secured bond in the

amount of $3 million, which is three times what the defendant here

has proposed despite his significantly greater loss and role in

masterminding the scheme. Similar to Harry, who was not able to

satisfy the $2.5 million secured bond that was originally set forth by




                                     19
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 20 of 39 PageID: 846




Magistrate Judge Dickson, Williamsky was not able to satisfy the

conditions of release and remains detained. 3

     B.    Weight of the Evidence against the Defendant

     The possibility of a lengthy period of incarceration is certainly

sufficient to motivate the defendant to flee. That incentive,

however, is only increased in light of the strength of the evidence

against the Defendant – and thus the likelihood of his conviction.

Here, the case against the Defendant is overwhelming. The case is

based on numerous cooperating witnesses, consensually recorded

conversations, electronic communications, bank and financial

records, Medicare records, and other documents and witnesses.

     The strength of the evidence is reflected by the fact that

Harry’s two co-defendants – the CEO (Lester Stockett) and Vice

President of Marketing (Elliot Loewenstern) of Harry’s telemedicine

companies – quickly pled guilty and agreed to plea agreements with



     3
      Furthermore, with respect to United States v. Chong and
United States v. Rehfuss, who were each granted bail, a third
defendant in that matter remains at large in Cuba despite an
Interpol Red Notice requesting his worldwide arrest. Thus, in some
health care fraud cases in this district, particularly those like the
instant case, detention is necessary to prevent the risk of flight.
                                     20
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 21 of 39 PageID: 847




Sentencing Guidelines ranges of 188 to 235 and 135 to 168

respectively.

     Defendant asserts that the evidence is largely “circumstantial”,

Deft. Mot. at 14, but that assertion is incorrect. The information

provided by the codefendants is detailed, credible, and

corroborated, in many instances, by other witnesses and

contemporaneous documents, records and other evidence,

including electronic recordings, email communications, and text

messages that were written by the defendant himself or directly

involve him. A recording of the defendant himself on a Skype call

documents the defendant offering doctor’s order in exchange for

payments, with the amount of the payments based on the number

of patient referrals received from an international patient recruiter.

Put simply, all of this evidence weighs heavily in favor of detention.4



     4 Defendant also asserts that the defense has “not had

meaningful access to discovery,” but this assertion is false. The
government provided extensive discovery including terabytes of
email communications, a server containing beneficiary medical
information, bank records, Medicare records, reports of interviews
and other investigative activity, consensually recorded
conversations. The defendant has informed the government that he
                                     21
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 22 of 39 PageID: 848




     C.    History and Characteristics of Defendant

     Defendants’ history and characteristics also strongly support

detention. Defendant’s motion badly misrepresents the record in

asserting that Harry has “no foreign connections or assets,” Mot. at

18 (emphasis added), when even Harry’s own publicly available

Facebook page touts that Harry “opened up a [call] center in San

Jose [Costa Rica] for his own business, and it grew to 9 centers

across the globe.” Ex. M.

     1.    History of International Fraud. From in or around

2000 to in or around 2005, Defendant was the mastermind of a

scheme involving the “deceptive marketing and sale of bogus [HGH]”

through a “deluge of illegal junk mail.” Ex. O at 1. As the FTC

alleged, “Defendant has taken great strides to cloak the

responsibility for his illegal practices, utilizing different names,



is disinclined to review all of these materials due to the costs
associated with maintaining them in electronic format, and he has
requested that the government provide materials in smaller
volumes, which the government has worked diligently to
accommodate this request. That, however, does not mean in any
way that the government did not satisfy its discovery obligations in
its initial production.
                                     22
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 23 of 39 PageID: 849




foreign addresses, anonymous Web sites and spam, and an

overseas bank account.” Id. at 2.

     In or around 2004 to 2006, defendant also was involved in an

illegal conspiracy to distribute controlled substances via the

internet from call centers controlled by defendant in the Dominican

Republic. According to Cooperating Witness-1, after a search

warrant was executed on defendant’s American business partner,

Christopher Smith, Harry assisted Smith in fleeing to Harry’s

residence in the Dominican Republic, assisted Smith in

reconstituting the online pharmacy in the Dominican Republic,

advised Smith on illegally moving $100,000 from the United States

to the Dominican Republic using a hawala underground banking

network, showed Smith a website that “advised people on which

countries they could flee to without facing extradition,” assisted

Smith’s later flight to Turks and Caicos, and advised Smith to open

foreign bank accounts in the names of third parties, as Harry stated

he had done in Switzerland and Sweden. See Ex. P. Smith

ultimately was apprehended and sentenced to 20-years

imprisonment in Criminal Case No. 05-282 (D. Minn. 2005).

                                     23
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 24 of 39 PageID: 850




     After 2006 until the time of his arrest, defendant continued to

be involved with operating international call centers in Colombia

and Panama. Prior to 2015, the beginning of the time period of the

instant indictment, defendant was involved in a scheme to solicit

illegal kickbacks and bribes in exchange for the referral of patients

for medically unnecessary compounded medications. Ex. Q.

     2.    History of Foreign Ties. Defendant retains his

Canadian citizenship, previously resided in the Dominican Republic

and Panama, operates businesses throughout Central and South

America, and is a frequent international traveler. There can be no

assurance that, upon release, the defendant would suddenly lack

access to such means of travel. And there can be little doubt that

the defendant is in a position to abandon millions of dollars in cash

and property securing any potential bond and still live comfortably

for the rest of his life by operating computer-based fraud schemes

from foreign countries.

     3.    Foreign Assets. The government has obtained evidence

that defendant controlled, or claimed to others to control, foreign

bank accounts in the Dominican Republic, Panama Cyprus,

                                     24
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 25 of 39 PageID: 851




Colombia, Sweden, Switzerland. See Ex. Q; Ex. R. Harry told

Cooperating Witness-2 that he wanted to open up bank accounts in

“Belize to serve as a ‘rainy day’ fund and as a way to further hide

the movement of money.” Ex. Q at 8. It is undisputed that the

defendant also owns a nearly $1 million yacht that currently is in

Mexico. These resources make the risk of flight exceedingly high.

     4.    Nominee Assets. Defendant has a demonstrated

practice of transferring money to bank accounts held in the names

of nominees. For example, defendant invested money into a life

insurance account held by his ex-wife and told a cooperating

witness that he “set it up that way because the money would be

protected from the government.” Ex. Q at 14.

     5.    Statements Regarding Flight. Harry’s experience

assisting the flight of Christopher Smith, and comments about

Smith’s flight, leads Cooperating Witness-1 to conclude that “of

course [Harry] is going to run” if released. Ex. Q at 7-8. Harry also

told Cooperating Witness-2 that if Harry “had the money and the

government began investigating him he would flee to Venezuela.”

Ex. Q at 15.

                                     25
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 26 of 39 PageID: 852




     7.    False Statements to Pre-Trial Services and the Court.

In determining whether defendant can be trusted to abide by any

conditions of release, of central importance is the defendant’s

repeated lies: as alleged in the Indictment; to Pre-Trial Services

about the extent of his international travel, where he traveled, and

his prior residences in the Dominican Republic and Panama; and to

the Court, in representing through counsel that he “never had any

conversations with [Brown & Fortunato],” a law firm with which the

defendant had “many communications” according to Brown &

Fortunato. May 30 Tr. at 30:4-7; Ex. S. Defendant declined to

correct this false representation despite multiple opportunities

offered on direct questioning by Magistrate Judge Dickson. See

May 30 Tr. at 35:3-23; U.S. v. Harry, Transcript of Bail Hearing

dated July 11, 2019, Ex. T at 48:11 – 49:19. The government has

demonstrated that these statements by defendant, through counsel,

were deceptive by obtaining and providing a privilege log produced

by Brown & Fortunato showing definitely that defendant exchanged

approximately 120 email communications with Brown & Fortunato

employees, of which he was the author of approximately 24 email

                                     26
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 27 of 39 PageID: 853




communications, including the very first email in the sequence of

communications with the law firm with subject line “Initial

discussion.” Ex. U. This demonstrated contempt for the authority

of the Court is alone a reason not to trust defendant to comply with

conditions of release. See U.S. v. Poulsen, 521 F. Supp. 2d 699

(S.D. Ohio 2007) (noting contempt for judicial authority

demonstrated through false statements provided a reason to believe

defendant could not be trusted to comply with conditions of

release).

     Defendant similarly exhibit a lack of candor in regard to the

location of the nearly $1 million yacht that was relocated to Mexico.

The government obtained seizure warrants on or about September

12, 2019, provided these warrants to the defendant’s attorney on

September 18, 2019, and asked him to turn them over the United

States. The government later argued that defendant should not be

released because he “has not turned over the assets,” see docket

entry no. 61 at 2 & n.1, and made a similar argument before this

Court as to why the seizure warrants should not be unsealed. See

docket entry no. 73 at 1-2. In reply, defendant argued that the

                                     27
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 28 of 39 PageID: 854




government allegation was “patently false” and made “recklessly”

because defendant was purportedly “cooperating” to turn over the

yacht and awaiting a contact at the Marshals Service to turn the

assets over to. See docket entry no. 79 at 3. However, after the

government requested on November 21 that the defendant arrange

the turnover of the “yacht within 24 hours” to specified individuals

at the Marshals Service, it was only on November 25 that defense

counsel disclosed that he was having “difficulty identifying a point

of contact for the custodian of the boat” and listed the contact

number of a criminal defense attorney as the “contact” for the

“vessel.” It was only as a result of the government’s subsequent

conversations with this criminal defense attorney that it became

clear that the yacht had been relocated from the United States to

Mexico, a fact that never was disclosed to Magistrate Judge Dickson

prior to the issuance of his release order. See docket entry no. 82.

     D.    Nature and Seriousness of Defendant’s Danger to the
           Community
     The Bail Reform Act directs the Court to consider also “the

nature and seriousness of the danger to any person or the

community that would be posed by the person’s release.” 18 U.S.C.

                                     28
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 29 of 39 PageID: 855




§ 3142(g)(4). As courts have recognized, the term “danger,” as used

in the Bail Reform Act of 1984, encompasses both physical and

economic harm. Giampa, 904 F. Supp. at 358; see also Provenzano,

605 F.2d at 95.

     Here, Magistrate Judge Dickson correctly found that “given the

nature of Defendant’s alleged criminal activity, he would have the

opportunity to engage in similar activity post-release.” See Docket

entry no. 85 (Release Order) at 7. Defendant took extraordinary

measures to conceal the fraudulent scheme. In order to avoid

detection, Defendant created sham entities in foreign jurisdictions.

     Defendant asserts that “there is no evidence on the record

here of recidivist behavior,” Deft. Mot. at 15, but the government

proffered a nearly two-decade history of recidivist fraud,

concealment, and attempts to avoid detection by the government.

See United States v. Burke, 2013 U.S. Dist. LEXIS 134427, *2-3

(S.D. Fla. Sept. 17, 2013) (finding that where a defendant engaged

in “methodical and repetitive efforts to defraud and evade

detection,” this “pattern of deception suggests that [he] would




                                     29
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 30 of 39 PageID: 856




continue to pose a danger of further harm to the community if

released”).

     Indeed, defendant cites United States v. Akinola, No. 11-310

(JLL), 2016 WL 4508230, at *4 (D.N.J. Aug. 29, 2016) for the

proposition that “the falsification of documents as a reason for

finding of serious risk of flight, because it was ‘the kind of action

that can be done within the confines of a custodian’s home.’” Mot.

at 15. This supports detention based on the facts here because the

Indictment alleges that defendant “falsified, fabricated, and

altered . . . DME orders and other records,” see Indictment ¶ 9(k),

and the government’s factual proffer demonstrate that defendant

routinely falsified contracts, invoices, bank records, and other

documents.

     Based on the defendant’s history of fraud and deceit discussed

herein, and the instant charged crimes, Magistrate Judge Dickson

correctly found that the defendant poses a significant risk of

continuing economic danger to the community. Defendant’s

detention is necessary to ensure that he does not continue to

endanger vulnerable Medicare beneficiaries in order to continue to

                                     30
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 31 of 39 PageID: 857




steal millions more from Medicare, or engage in other types of fraud

schemes.

     III.   Defendant’s Proposed Bail Package is Insufficient

     His initial bail package having “evaporated,” Defendant now

seeks release based on a significantly reduced bail package. The

Court should reject this attempt.

     First, defendant’s proposal does not include home detention,

even though defendant previously represented to Magistrate Judge

Dickson that he would consent to the most restrictive conditions of

release possible; specifically defense counsel noted, “[p]oint is that

he’ll subject himself to the most restrictive of conditions . . . . ” May

30 Tr. at 29:14-16.5



     5 To be clear, the government does not believe that electronic

monitoring is sufficient for the defendant to be released, but it is
certainly a necessary condition if the court elects not to detain him.
See United States v. Abdullahu, 488 F. Supp. 2d 433, 444 (D.N.J.
2007) (noting that home detention with electronic monitoring
impedes flight but does not guarantee appearance) (citing United
States v. Orena, 986 F.2d 628, 632-33 (2d Cir.1993); United States
v. Gotti, 776 F. Supp. 666, 672-73 (E.D.N.Y.1991)); United States v.
Vargas, No. 13-2044 JS, 2013 WL 3223419, at *5 (D.N.J. June 25,
2013) (same); see also United States v. Mercedes, 254 F.3d 433, 437
(2d Cir. 2001) (noting that electronic monitoring, home detention,
                                     31
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 32 of 39 PageID: 858




     Second, Magistrate Judge Dickson viewed an internet

prohibition as a necessary measure to protect the public and

prevent the defendant’s flight. Defendant now seeks release

without a prohibition on his internet use. As noted above, the

defendant has been known as a “notorious spammer,” and more

importantly, the instant offense was conducted largely through

internet and other international communications technologies. For

both the protection of the public and to prevent the defendant’s

flight, his internet use should be prohibited.

     Third, while defendant previously proposed that he be released

to including his former romantic partner Shawn Maley and his

brother, the defendant now proposes that he be released to a

second former romantic partner who is a subject of the

government’s money laundering investigation: Lena Jarborg—the

mother of the defendant’s eldest child—has received over $131,000

in tainted money from the defendant. This Court should reject a




and assurances from family members that the defendant will
comply with pretrial release are insufficient in the face of evidence
that defendant is a flight risk).
                                     32
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 33 of 39 PageID: 859




custodian who has a close familial relationship with the defendant

and received tainted funds from the defendant. Numerous courts

similarly have rejected proposals that family members serve as

“third-party” custodians. See United States v. Vega Sosa, 2011 U.S.

Dist. LEXIS 18392, *4 n.5 (D.P.R. Feb. 24, 2011) (rejecting

defendant’s wife as custodian because she is “not a third party and

is not a person that should be authorized nor can provide the

defendant the necessary custodial discipline as a neutral third

party.”); United States v. Cachucha, 778 F. Supp. 2d 1172, 1179

(D.N.M. April 18, 2011) (rejecting fiancée).

     IV.   Due Process Does Not Require Defendant’s Release

     The defendant also argues that due process concerns

necessitate his pretrial release regardless of his risk of flight or

danger to the community. Defendant fails to articulate or analyze

the relevant factors under Third Circuit law that demonstrate that

his continued detention complies with his constitutional due

process guarantees. Under United States v. Accetturo, the Circuit

held that while a defendant’s lengthy pretrial confinement might

theoretically become unconstitutionally punitive, those interests

                                     33
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 34 of 39 PageID: 860




should analyzed under a two-part test. 783 F.2d 382, 388 (3d Cir.

1986). The first part contemplates the bail factors under 18 U.S.C.

§ 3142(g)(1)-(4), including “the seriousness of the charges, the

strength of the government's proof that defendant poses a risk of

flight or a danger to the community, and the strength of the

government's case on the merits,” which the government has shown

in this brief counsel for the defendant’s continued detention in this

case. See id. Second, the Court considered whether additional

factors, including “the length of the detention that has in fact

occurred, the complexity of the case, and whether the strategy of

one side or the other has added needlessly to that complexity.” Id.

The complexity of the case weighs in favor of the appropriateness of

lengthy pretrial detention. See, e.g., United States v. Hodge, No. CR

2016-0009, 2018 WL 1123866, at *8 (D.V.I. Feb. 23, 2018) (29-

month appropriate in part due to complexity of the 12-defendant

drug conspiracy case). The Circuit also noted that because issues

relevant to this consideration become clear closer to trial so “due

process protections for detainees awaiting distant trials is thus

better met farther down the procedural road.” Id.

                                     34
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 35 of 39 PageID: 861




     Courts have routinely found that detention of a year or more

met procedure due process standards where the delay was not a

strategy of the government but was due in part to the defendant.

See United States v. Telfair, No. CRIM A 08CR0757(DMC), 2008 WL

5188846, at *4 (D.N.J. Dec. 10, 2008) (holding 22-month detention

constitutionally appropriate where “most of the delays in this case

are due to the inherent complexities accompanying the significant

number of motions and changes of counsel that have been made by

Defendant.”); United States v. Zannino, 798 F.2d 544, 548 (1st

Cir.1986) (holding 16-month detention appropriate where defendant

himself responsible for delay in trial); United States v. Bianchi, No.

CRIM. 06-19, 2006 WL 2338285, at *2 (E.D. Pa. Aug. 10, 2006)

(denying motion for pretrial release on due process grounds

because “much of the unusual length of pretrial detention is

attributable to Defendant himself and not to any strategy of delay

by the Government”); United States v. Lloyd, No. CRIM. 13-252-17,

2015 WL 6823754, at *1 (W.D. Pa. Nov. 6, 2015) (No due process

violation where defendant requested “continuance or otherwise

caused the delay of trial in this matter for eighteen of the twenty

                                     35
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 36 of 39 PageID: 862




months of his incarceration.”); United States v. Thompson, No. 4:16-

CR-0019-19, 2018 WL 2341713, at *1 (M.D. Pa. May 23, 2018)

(twenty-eight months in pre-trial detention not punitive because

“trial has now been set in the not too distant future.”).

     Here, the defendant has been held from April 9, 2019 to the

present—approximately eleven months—which is well within the

time courts have found to be reasonable. As discussed above, the

bail factors weigh heavily in favor of the defendant’s detention.

Perhaps more importantly, the delay in proceedings is occasioned

by the defendant himself. Most instructively, the defendant himself

has, to date, not requested a trial date in this matter. At the

conference the Court held on January 28, 2020, the defendant

explicitly declined to request a trial date, citing that he was having

trouble reviewing the extensive discovery the government provided.

The defendant consented to a continuance through April 1, 2020.

Docket entry no. 96. Moreover, the proceedings regarding bail have

been occasioned by significant delay by the defendant. First, the

defendant consented to waive a detention hearing in the Southern

District of Florida. Later, following the May 30, 2019 hearing, his

                                     36
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 37 of 39 PageID: 863




counsel instructed the Court that he required additional time to

propose a bail package sufficient to reasonably assure the Court of

his appearance. See May 30 Tr. at 51:13 - 51:9. Later, the

additional delay was caused when the Court observed after issuing

a release order on conditions that the defendant’s bail package had

“essentially fallen apart.” Docket entry no. 97. Though some of

these delays may be said to have been caused by the complexity of

the charged case, none of them were occasioned by a strategy

pursued by the government. Although defendant cites to delays

between hearings, he fails to recite that these delays were

occasioned, in part, by his requesting time to propose and

additional bail package, and then that proposed package falling

apart.

     Defendant fails to analyze these factors because they

demonstrate that his detention is appropriate. Importantly, even in

the cases he cites where defendants were released in, in part, due to

due process considerations, the Courts found weakness in the bail

factor analysis. For instance, in United States v. Lopez, the court

found the government’s arguments regarding risk of flight to

                                     37
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 38 of 39 PageID: 864




unpersuasive. 827 F. Supp. 1107, 1111–12 (D.N.J. 1993).

Moreover, the court found that much of the delay was caused by

the government provided approximately 3800 hours of audio tapes

to the defense without an index, including audio of twenty other

defendants in the case. Id. Here the government has provided the

defense with extensive logs of the discovery materials provided. In

United States v. Gatto, also cited by the defendant, the court found

significant issues in the government’s evidence. 750 F. Supp. 664,

674 (D.N.J. 1990). Perhaps more importantly, the defendants in

Gatto offered to be released under stringent conditions including

“house arrest with electronic surveillance and a wiretap” on the

telephone. Id. at 675. For these reasons, these cases are

distinguishable and the defendant’s due process claim without

merit.




                                     38
Case 2:19-cr-00246-MCA Document 103 Filed 03/17/20 Page 39 of 39 PageID: 865




                               Conclusion

     For the foregoing reasons, and to prevent flight and protect the

public, the defendant should remain detained. Accordingly, the

United States respectfully requests that the Court deny the

defendant’s motion to revoke the detention order.

                                   Respectfully submitted,

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                                   Acting Under Authority Conferred
                                   By 28 U.S.C. § 515


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                                     39
